Case 2:08-cr-00176-SRC   Document 76   Filed 07/17/09   Page 1 of 6 PageID: 371
Case 2:08-cr-00176-SRC   Document 76   Filed 07/17/09   Page 2 of 6 PageID: 372
Case 2:08-cr-00176-SRC   Document 76   Filed 07/17/09   Page 3 of 6 PageID: 373
Case 2:08-cr-00176-SRC   Document 76   Filed 07/17/09   Page 4 of 6 PageID: 374
Case 2:08-cr-00176-SRC   Document 76   Filed 07/17/09   Page 5 of 6 PageID: 375
Case 2:08-cr-00176-SRC   Document 76   Filed 07/17/09   Page 6 of 6 PageID: 376
